 Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 1 of 18




                                UNITED ST ATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.       24-cr-80041-RLR(s)
                                       21 U.S.C. § 841(a)(l)
                                       21 u.s.c. § 846
                                       18 U.S.C. § 924(c)
                                       18 U.S.C. § 922(g)(l)
                                       18 U.S.C. § 924(d)(l)
                                       21 u.s.c. § 853

UNITED STATES OF AMERICA

v.                                                                            TM
SAMANTHA HANA YI,
    a/k/a "China,"                                                 Jul 25, 2024
    a/k/a "Gina,"

       Defendant.
_____________     /
                                                                                 WPB




                                    SUPERSEDING INDICTMENT

       The Grand Jury charges that:

                                              COUNT 1
                           Conspiracy to Distribute a Controlled Substance
                                          (21 u.s.c. § 846)

       Beginning in and around January 2022, the exact date being unknown to the Grand Jury, and

continuing through on or about March 6, 2024, in Palm Beach County, in the Southern District of Florida,

the defendant,

                                         SAMANTHA HANA YI,
                                            a/k/a "China,"
                                             a/k/a "Gina,"

did knowingly and willfully combine, conspire, confederate, and agree with Darnell Julio Mendez, and

other persons known and unknown to the Grand Jury, to possess with intent to distribute, and distribute,

a controlled substance, in violation of Title 21 , United States Code, Section 841 (a)(l ), all in violation of
 Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 2 of 18




Title 21 , United States Code, Section 846.

       With respect to the defendant, SAMANTHA HANA YI, a/k/a "China," a/k/a "Gina," it is

further alleged the controlled substance involved in the conspiracy attributable to the defendant as a result

of her own conduct, and the conduct of other conspirators reasonably foreseeable to the defendant, is 40

grams or more of a mixture and substance containing a detectable amount of N-Pheny 1- -[ 1-(2-

pheny lethy l)-4-piperidiny l] propanamide, that is, Fentanyl, a Schedule II Controlled Substance, 10 grams

or more of a mixture and substance containing a detectable amount of (N-(4-Fluorophenyl)-N-[1-(2-

phenylethyl)-4-piperidinyl] propenamide, that is, Fluorofentanyl, and that death resulted from the use of

such substance, in violation of Title 21 , United States Code, Section 84l(b)(l)(B)(vi).

                                               COUNT2
                                 Distribution of a Controlled Substance
                                         (21 U.S.C. § 841(a)(l))

       On or about March 30, 2022, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                        SAMANTHA HANA YI,
                                           a/k/a "China,"
                                           a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United States

Code, Section 84l(a)(l).

       Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance, and (N-

(4-Fluorophenyl)-N-[1-(2-phenylethyl)-4-piperidinyl] propenamide, that is, Fluorofentanyl, and that

death resulted from the use of such substance.


                                                 2
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 3 of 18




                                              COUNT3
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about December 22, 2022, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 84l(a)(l) and Title 18, United States Code, Section 2.

       Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

       Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(D), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of marihuana.

                                              COUNT4
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about December 27, 2022, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

       Pursuant to Title 21 , United States Code, Section 841 (b )(1 )(C), it is further alleged that this


                                                3
 Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 4 of 18




violation involved a mixture and substance containing a detectable amount of N-Phenyl- -[1 -(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNTS
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about January 4, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

       Pursuant to Title 21, United States Code, Section 841 (b)(1 )(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N- [1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT6
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about January 10, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

       Pursuant to Title 21, United States Code, Section 841 (b )(1 )(C), it is further alleged that this


                                                4
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 5 of 18




violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance, and a

mixture and substance containing a detectable amount of Cocaine, a Schedule II Controlled Substance.

        Pursuant to Title 21, United States Code, Section 841 (b )(1 )(D), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of marihuana.

                                              COUNT 7
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

        On or about January 25, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HA A YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841 (a)(l ).

       Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNTS
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about February 1, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"


                                                5
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 6 of 18




did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United States

Code, Section 841(a)(l).

       Pursuant to Title 21 , United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT9
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about February 9, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United States

Code, Section 841 (a)(l ).

       Pursuant to Title 21 , United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT 10
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about February 23 , 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"


                                                 6
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 7 of 18




did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United States

Code, Section 841(a)(l).

        Pursuant to Title 21 , United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[ 1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT 11
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

        On or about March 1, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United States

Code, Section 841 (a)(l ).

       Pursuant to Title 21 , United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT 12
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about March 8, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"


                                                 7
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 8 of 18




did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

       Pursuant to Title 21, United States Code, Section 841 (b )(1 )(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT 13
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about March 23 , 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,

                                        SAMANTHA HANA YI,
                                           a/k/a "China,"
                                            a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21 , United States

Code, Section 841(a)(l).

       Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N- [1-(2-

phenylethyl)-4-piperidinyl] propanan1ide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT 14
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about April 13, 2023, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"


                                                 8
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 9 of 18




did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

       Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl- -[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.

                                              COUNT 15
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about June 2, 2023 , in Palm Beach County, in the Southern District of Florida, the defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                          a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

       Pursuant to Title 21, United States Code, Sections 841(b)(l)(B)(vi) and (C), it is further alleged

that this violation involved 10 grams or more of a mixture and substance containing a detectable amount

of (N-(4-Fluorophenyl)-N-[1-(2-phenylethyl)-4-piperidinyl] propenamide, that is Fluorofentanyl, and N-

Phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled

Substance.

                                              COUNT 16
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

       On or about July 26, 2023 , in Palm Beach County, in the Southern District of Florida, the

defendant,




                                                9
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 10 of 18




                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841(a)(l).

        Pursuant to Title 21, United States Code, Sections 841(b)(l)(B)(vi) and (C), it is further alleged

that this violation involved 10 grams or more of a mixture and substance containing a detectable amount

of (N-(4-Fluorophenyl)-N-[1-(2-phenylethyl)-4-piperidinyl] propenamide, that is Fluorofentanyl, and N-

Phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled

Substance.

                                              COUNT 17
                                Distribution of a Controlled Substance
                                        (21 U.S.C. § 841(a)(l))

        On or about December 12, 2023, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"

did knowingly and intentionally distribute a controlled substance, in violation of Title 21, United States

Code, Section 841 (a)(l ).

       Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl- -[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance.
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 11 of 18




                                             COUNT 18
                    Possession with Intent to Distribute a Controlled Substance
                                      (21 U.S.C. § 841(a)(l))

       On or about March 6, 2024, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"

did knowingly and intentionally possess with intent to distribute a controlled substance, in violation of

Title 21, United States Code, Section 841(a)(l) and Title 18, United States Code, Section 2.

       Pursuant to Title 21, United States Code, Section 841(b)(l)(C), it is further alleged that this

violation involved a mixture and substance containing a detectable amount of N-Phenyl-N-[1-(2-

phenylethyl)-4-piperidinyl] propanamide, that is, Fentanyl, a Schedule II Controlled Substance, a mixture

and substance containing a detectable amount of (N-(4-Fluorophenyl)-N-[1-(2-phenylethyl)-4-

piperidinyl] propenamide, that is Fluorofentany l, and a mixture and substance containing a detectable

amount of Cocaine, a Schedule II Controlled Substance.

       Pursuant to Title 21, United States Code, Section 841 (b)(1 )(D), it is further alleged that this

violation involved a mixture or substance containing a detectable amount of marihuana.

                                             COUNT 19
                Possession of a Firearm in Furtherance of a Drug Trafficking Crime
                                         (18 U.S.C. § 924(c))

       On or about March 6, 2024, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                       SAMANTHA HANA YI,
                                          a/k/a "China,"
                                           a/k/a "Gina,"


                                               11
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 12 of 18




did knowingly possess a firearm in furtherance of a drug trafficking crime, a felony offense for which the

defendant may be prosecuted in a court of the United States, that is, a violation of Title 21 , United States

Code, Section 841 , as set forth in Count 18 of this Superseding Indictment, in violation of Title 18, United

States Code, Sections 924( c)(1 )(A)(i) and 2.

                                               COUNT20
                            Possession of a Firearm by a Prohibited Person
                                          (18 u.s.c. § 922(g))

       On or about March 6, 2024, in Palm Beach County, in the Southern District of Florida, the

defendant,

                                        SAMANTHA HANA YI,
                                           a/k/a "China,"

did knowingly possess a firearm and ammunition, in and affecting interstate and foreign commerce,

knowing that she had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, in violation of Title 18, United States Code, Section 922(g)(l ).

       It is further alleged that the firearm and ammunition were:

       (i)      one (1) Taurus International Mfg. (Brazil), Model 85 , .38 Special revolver,

       (ii)     four (4) rounds of .38 Special caliber ammunition,

       (ii)     one (1) Maverick Arms (Mossberg), Model 88, 12-Gauge shotgun,

       (iii)    one (1) Carl Walther, PPS, .40 S&W pistol,

       (iv)     one (1) Smith & Wesson, Model 10-5, .38 Special revolver,

       (v)      one (1) North American Arms, NAA-22M, .22 revolver,

       (vi)     one (1) Palmetto State Armory, PA-15 , 5.56x45 rifle,

       (vii)    one (1) Glock Inc., 42, .380 Auto pistol,

       (viii)   one (1) Beretta, 92FS, 9mm pistol,

                                                 12
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 13 of 18




        (ix)     one (1) Kel-Tec, PLR-16, 5.56 pistol,

        (x)      one (1) FN Herstal, FNS-9, 9mm pistol,

        (xi)     one (1) Ruger, Mark II, .22 pistol,

        (xii)    one (1) Sig Sauer, P365, 9mm pistol,

        (xiii)   one (1) Glock GMBH, 26, 9mm pistol, and

        (xiv)    one (1) Smith & Wesson, Bodyguard 380 (BG380), .380 pistol.

                                     FORFEITURE ALLEGATIONS

        1.       The allegations of this Superseding Indictment are hereby re-alleged and by this reference

fully incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

property in which the defendants, SAMANTHA HA A YI, a/k/a "China," a/k/a "Gina," has an

interest.

        2.       Upon conviction of a violation of Title 21 , United States Code, Section(s) 841 and/or 846,

as alleged in this Superseding Indictment, the defendant shall forfeit to the United States any property

constituting, or derived from , any proceeds obtained, directly or indirectly, as a result of such offense, and

any property used, or intended to be used, in any manner or part, to commit, or to facilitate the commission

of, such offense, pursuant to Title 21 , United States Code, Section 853 .

        3.       Upon conviction of a violation of Title 18, United States Code, Section(s) 922(g) and/or

924(c), or any other criminal law of the United States, as alleged in this Superseding Indictment, the

defendant shall forfeit to the United States any firearm and ammunition involved in or used in the

commission of such offense, pursuant to Title 18, United States Code, Section 924( d)(l ).




                                                  13
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 14 of 18




       All pursuant to and Title 18, United States Code, Section 924( d)(l ), and Title 21 , United States

Code, Section 853.




             LAPOINTE
            ATES ATTORNEY




ADA.MC.MC
ASSIST ANT UNITED S




                                               ]4
 Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 15 of 18
                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                             CASE NO.: 24-cr-8004 1-RLR(s)

v.
SAMANTHA HANA YI,                                                    CERTIFICATE OF TRIAL ATTORNEY
a/k/a "China,"
a/k/a "Gina,"
- - - - - - - - - - - - - - - - -I
                Defendants.                                          Superseding Case Information:
Court Division (select one)                                          New Defendant(s) (Yes or N o ) ~
   D Miami        D Key West                □ FTP                    N umber of New Defendants
   □ FTL          f8JWPB                                             Tota l number of new co unts ~

I do hereby certify that:
   1.   I have carefully considered the all egations of the indictment, the number of defendants, the number of probable
        witnesses and the legal complexities of the Indi ctment/Information attached hereto.
  2.    I am aware that the information supplied on this statement wi ll be relied upon by the Judges of this Court in setting
        their calend ars and scheduling crimi nal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3 161.

     3.    Interpreter: (Yes or No) ~
           List language and/or dialect: _E_ng~l_is_h_ _ _ __
     4.   This case will take __!_2__ days for the parties to try.

     5.    Please check appropr iate category and type of offense listed below:
          (Check on ly one)                          (Check on ly o ne)
          I   D Oto 5 days                        □ Petty
          II f8J 6 to IO days                     D Minor
          lll D 11 to 20 days                     D Misdemeanor
          IV D 2 1 to 60 days                     [8] Felony
          V D 6 1 days and over

     6.    Has this case been previously fi led in this District Court? (Yes or No) Yes
          If yes, Judge Rosenberg                           Case No . 24-cr-80041-RLR
     7.
                                                                       ----------------
           Has a compla int been fil ed in th is matter? (Yes or No) Yes
          If yes, Magistrate Case No. 24-8095-RMM
     8. ' Does this case re late to a previously filed matter in thi s Di strict Co urt? (Yes or No) ~
           If yes, Judge___________ Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     9.   Defendant(s) in federa l custody as of March 7, 2024
     10. Defendant(s) in state custody as of
                                                    ----------------------
     11. Rule 20 from the _ _ _ _ District of _ _ _ _ _ _ _ _ __
     12. Is this a potential death penalty case? (Yes or No) ~
     13. Does this case originate fro m a matter pend ing in the Northern Region of the U.S. Attorney ' s Office
          prior to August 8, 20 14 (Mag. Judge Shan iek Maynard? (Yes or No) No
     14. Does this case originate from a matter pend ing in the Centra l Regio n of the U.S. Atto rney ' s Office prior
          to October 3, 20 19 (Mag. Judge Jared Strauss? (Yes or No) No
     15. Did this matter invo lve the participation of or consultation with Magistrate Judge Edu ard o I. Sanchez
          during his tenure at the U.S. Attorney ' s Office, which conc luded on January 22, 2023? ~
     16. Did this matter invo lve the participation of or consu ltation w ith now Magistrate Judge Marta Fulgue ira
          E lfe nbei n during her tenure at the U.S. Atto rney ' s Office, whi c concluded on March 5, 2024? ~




                                                                          Ass istant United States Attorney
                                                                          FL Bar No.
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 16 of 18




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: Samantha Yi, aka "China," a/k/a "Gina"

   Case No: 24-cr-8004 1-RLR(s)

   Count#: 1

   Conspiracy to Distribute and Possess with Intent to Distribute a Controlled Substance (40 grams
   or more of Fentanyl & 10 grams or more ofFluorofentanyl) Resulting in the Death of Another

   21 U.S .C. §§ 846 and 84l(b)(l)(B)(vi)
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 20 Years
   * Max. Supervised Release: Minimum 3 years to life term
   * Max. Fine: $5,000,000
   * Special Assessment: $100.00

   Count #: 2

   Distribution of a Controlled Substance (Fentanyl & Fluorofentanyl) Resulting in the Death of
   Another

   21 U.S.C §§ 84l(a)(l) and (b)(l)(C)
   * Max. Term of Imprisonment: Life
   * Mandatory Min. Term of Imprisonment (if applicable): 20 Years
   * Max. Supervised Release: 3 Years to Life
   *Max.Fine: $1 ,000,000
   * Special Assessment: $100.00

   Counts #: 3,

   Distribution of a Controlled Substance (Fentanyl & Marihuana)

   21 U.S .C §§ 841(a)(l) and (b)(l)(C), (b)(l)(D)
   *Max.Term oflmprisonment: 20 Years
   * Mandatory Min. Term of Imprisonment (if applicable): n/a
   * Max. Supervised Release: 3 Years to Life
   * Max. Fine: $1,000,000
   * Special Assessment: $100.00




                                                  1
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 17 of 18




  Counts #: 4, 5, 7, 8, 9, 11 , 12, 14, 17

  Distribution of a Controlled Substance (Fentanyl)

  21 U.S.C §§ 84l(a)(l) and (b)(l)(C)
  *Max.Term of Imprisonment: 20 Years
  * Mandatory Min. Term of Imprisonment (if applicable): n/a
  * Max. Supervised Release: 3 Years to Life
  *Max. Fine: $1,000,000
  * Special Assessment: $100.00

  Counts #: 6

  Distribution of a Controlled Substance (Fentanyl, Cocaine, & Marihuana)

  21 U.S.C §§ 84l(a)O) and (b)(l)(C), (b)(l)(D)
  * Max. Term oflmprisonment: 20 Years
  * Mandatory Min. Term oflmprisonment (if applicable): n/a
  * Max. Supervised Release: 3 Years to Life
  * Max. Fine: $1,000,000
  * Special Assessment: $100.00

  Counts #: 10-13 ,

  Distribution of a Controlled Substance (Fentanyl)

  21 U.S.C §§ 84l(a)(l) and (b)(l)(C)
  *Max.Term of Imprisonment: 20 Years
  * Mandatory Min. Term of Imprisonment (if applicable): n/a
  * Max. Supervised Release: 3 Years to Life
  *Max.Fine: $1,000,000
  * Special Assessment: $100.00



  Counts #: 15, 16

  Distribution of a Controlled Substance (l Ograms or more of Fluorofentanyl, & Fentanyl)

  21 U.S.C §§ 84l(a)(l) and (b)(l)(B)(vi), (b)(l)(C)
  *Max.Term oflmprisonment: 40 Years
  * Mandatory Min. Term of Imprisonment (if applicable): n/a
  * Max. Supervised Release: 3 Years to Life
  * Max. Fine: $1,000,000
  * Special Assessment: $100.00



                                                 2
Case 9:24-cr-80041-RLR Document 57 Entered on FLSD Docket 07/25/2024 Page 18 of 18




  Count #: 18

  Possession with Intent to Distribute a Controlled Substance (Fentanyl, Fluorofentanyl, Cocaine
  & Marihuana).

  21 U.S.C §§ 841(a)(l) and (b)(l)(B)(C), (b)(l)(D)
  * Max. Term of Imprisonment: 20 Years
  * Mandatory Min. Term of Imprisonment (if applicable): n/a
  * Max. Supervised Release: 3 Years to Life
  * Max. Fine: $1 ,000,000
  * Special Assessment: $100.00

   Count#: 19

   Possession of a Firearm in Fmiherance of a Drug Trafficking Crime

  18 U.S.C § 924(c)(l)(A)(i)
  * Max. Term of Imprisonment: Life
  * Mandatory Min. Term oflmprisonment (if applicable): 5 years consecutively to any other
  sentence of imprisonment
  * Max. Supervised Release: 5 Years
  * Max. Fine: $250,000
  * Special Assessment: $100.00



  Count #:20

  Possession of a Firearm and Ammunition by a Prohibited Person - Convicted Felon

  18 U.S.C. § 922(g)(l)
  *Max.Term oflmprisonment: 15 Years
  * Mandatory Min. Term of Imprisonment (if applicable): n/a
  * Max. Supervised Release: 3 Years
  * Max. Fine: $250,000
  * Special Assessment: $100.00




                                                 3
